             Case 2:03-cr-00371-JAM Document 696 Filed 04/17/08 Page 1 of 3


 1 Krista Hart
   Attorney at Law
 2 State Bar No. 199650
   428 J Street, Suite 350
 3 Sacramento, CA 95814
   (916) 498-8398
 4
   Attorney for Petra Funtila
 5
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES                         )            No. 2:03-cr-00371-MCE
10                                         )
                 Plaintiff,                )
11                                         )            STIPULATION AND
           v.                              )            ORDER RESETTING THE
12                                         )            STATUS CONFERENCE
     JONATHAN BLACKMAN,                    )
13   SHAWN CONLEY,                         )
     DELESHIA GILBERT,                     )
14   ERIC NEWBORN, and                     )
     PETRA FUNTILA,                        )
15                                         )
                 Defendants.               )
16   _____________________________________ )
17
18         Defendant Jonathan Blackman, by and through counsel Michael Hansen, and defendant
19 Shawn Conley, by and through counsel C. Emmett Mahle, and defendant Deleshia Gilbert, by
20 and through counsel Kresta Daly, and defendant Eric Newborn, by and through counsel William
21 Bonham, and defendant Petra Funtila, by and through counsel Krista Hart, and the United States
22 (government) by and through counsel Assistant U.S. Attorney William Wong all stipulate and
23 agree the status conference currently set for April 17, 2008, should be reset to June 12, 2008.
24         As the Court is aware, this is a complex case. The facts and circumstances involve
25 numerous bank robberies throughout the Eastern District. The indictment includes numerous
26 “crews” which are charged (some have been convicted) with various robberies. The leader,
27 Dwayne Slater, is the connection between and among the robberies. Two separate groups of
28 defendants have already gone to trial and been convicted.
             Case 2:03-cr-00371-JAM Document 696 Filed 04/17/08 Page 2 of 3


 1 The court reporter has prepared transcripts of those hearings.
 2         Counsel for the defendants are still reviewing materials and are in active negotiations
 3 with the government in an effort to resolve the matter. Two attorneys, Kresta Daly and C.
 4 Emmett Mahle are in trial and do not anticipate being available until June. Additionally, some of
 5 the defendants are housed in Nevada City, an hour long drive from Sacramento, it is difficult to
 6 arrange time to make the drive to discuss potential resolutions. For these reasons, the ends of
 7 justice are best served by resetting the change of plea hearing currently set for April 17, 2008, to
 8 June 12, 2008.
 9 ///
10 ///
11 ///
12 ///
13 ///
14 ///
15 ///
16 ///
17 ///
18 ///
19 ///
20 ///
21 ///
22 ///
23 ///
24 ///
25 ///
26 ///
27 ///
28 ///

                                                     2
             Case 2:03-cr-00371-JAM Document 696 Filed 04/17/08 Page 3 of 3


 1         The parties further stipulate and agree the time from April 17, 2008, up to and including
 2 June 12, 2008, should be excluded in computing the time within which the trial of the above
 3 criminal prosecution must commence for purposes of the Speedy Trial Act. The parties stipulate
 4 that the ends of justice are served by the Court excluding such time, so that counsel for the
 5 government and the defendant may have reasonable time necessary for effective preparation,
 6 taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(8)(B)(iv) (Local Code
 7 T4).
 8 DATED: April 16, 2008                                 /s/ Krista Hart
                                                         Attorney for Petra Funtila
 9
10 DATED: April 16, 2008                                 /s/ Michael Hansen
                                                         Attorney for Jonathan Blackman
11
12 DATED: April 16, 2008                                 /s/ Kresta Daly
                                                         Attorney for Deleshia Gilbert
13
14 DATED: April 16, 2008                                 /s/ William Bonham
                                                         Attorney for Eric Newborn
15
16 DATED: April 16, 2008                                 /s/ C. Emmett Mahle
                                                         Attorney for Shawn Conley
17
18 DATED: April 16, 2008                                 McGREGOR SCOTT
                                                         United States Attorney
19
                                                         /s/ William Wong
20                                                       Assistant U.S. Attorney
21                                               ORDER
22 It is so ordered.
23
     Dated: April 16, 2008
24
                                                  ________________________________
25                                                MORRISON C. ENGLAND, JR.
26                                                UNITED STATES DISTRICT JUDGE

27
28

                                                     3
